Case 19-00730-5-JNC        Doc 620 Filed 12/27/19 Entered 12/27/19 16:39:47                Page 1 of 2




                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                               GREENVILLE DIVISION

  IN RE:                                            )
                                                    ) CASE NO. 19-00730-5-JNC
  CAH ACQUISITION COMPANY 1, LLC                    )
  d/b/a WASHINGTON COUNTY                           ) CHAPTER 11
  HOSPITAL,                                         )
       Debtor.                                      )

                NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

         NOW COMES Byron L. Saintsing of SMITH DEBNAM NARRON DRAKE
 SAINTSING & MYERS, L.L.P., pursuant to Bankruptcy Rule 2002(i) and 3017(a) and hereby
 enters an appearance on behalf of creditor SIEMENS FINANCIAL SERVICES, INC. and
 requests that a copy of all notices to creditors and other parties in interest be served upon him as
 attorney for SIEMENS FINANCIAL SERVICES, INC.

        Date: December 27, 2019

                                               /s/ Byron L. Saintsing
                                               Byron L. Saintsing, N.C. Bar No. 16035
                                               SMITH DEBNAM NARRON DRAKE
                                               SAINTSING & MYERS, L.L.P.
                                               PO Box 176010
                                               Raleigh, NC 27619-6010
                                               Telephone: (919) 250-2000
                                               bsaintsing@smithdebnamlaw.com
                                               Attorneys for Siemens Financial Services, Inc.
Case 19-00730-5-JNC       Doc 620 Filed 12/27/19 Entered 12/27/19 16:39:47               Page 2 of 2




                        UNITED STATES BANKRUPTCY COURT
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  CAH ACQUISITION COMPANY 1, LLC                    )
  d/b/a WASHINGTON COUNTY                           ) CHAPTER 11
  HOSPITAL,                                         )
       Debtor.                                      )

       I, Byron L. Saintsing of SMITH DEBNAM NARRON DRAKE SAINTSING & MYERS,
 LLP Attorneys at Law, hereby certify:

        That I am, and at all times hereinafter-mentioned was, more than eighteen (18) years of
 age;

        That on this day, I served copies of the foregoing Notice of Appearance and Request for
 Notices upon the following by CM/ECF as noted or by mailing a copy thereof, postage prepaid:

  VIA U.S. MAIL                                     VIA CM/ECF
  CAH Acquisition Company 1, LLC                    Rayford K. Adams, III, Debtor’s Attorney
  d/b/a Washington County Hospital                  Thomas W. Waldrep, Jr., Trustee
  958 US Highway 64 East                            Jason L. Hendren, et al., Trustee’s Attorneys
  Plymouth, NC 27962                                Bankruptcy Administrator



        I certify under penalty of perjury that the foregoing is true and correct.

        Date: December 27, 2019

                                               /s/ Byron L. Saintsing
                                               Byron L. Saintsing, N.C. Bar No. 16035
                                               SMITH DEBNAM NARRON DRAKE
                                               SAINTSING & MYERS, L.L.P.
                                               PO Box 176010
                                               Raleigh, NC 27619-6010
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                                               Attorneys for Siemens Financial Services, Inc.
